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                      Attorneys for Defendants
                    7 PATENAUDE & FELIX APC, RAYMOND A.
                      PATENAUDE, MICHAEL D. KAHN and
                    8 ANGIE HONG HOAR

                    9
                                                         UNITED STATES DISTRICT COURT
                   10
                                                             DISTRICT OF NEVADA
                   11

                   12
                      TROY CAPITAL, LLC, a Nevada Limited                Case No. 2:20-cv-00205-JCM-DJA
                   13 Liability Company,
                                                                         STIPULATION TO ESTABLISH
                   14                      Plaintiff,                    BRIEFING SCHEDULING FOR
                                                                         MOTIONS FOR PARTIAL SUMMARY
                   15             vs.                                    JUDGMENT
                   16 PATENAUDE & FELIX APC, et al.,                     (First Request)
                   17                      Defendants.

                   18
                        PATENAUDE & FELIX APC,
                   19
                                           Counterclaimant/Third-Party
                   20                      Plaintiff
                   21             vs.
                   22 TROY CAPITAL, LLC, a Nevada Limited
                      Liability Company; RANCE WILLEY, an
                   23 Individual, and TROY DUPUIS, an
                      Individual,
                   24
                                      Counter-defendant/Third-
                   25                 Party Defendants
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LEWIS
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& SMITH LLP
ATTORNEYS AT LAW
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                    1                 IT IS STIPULATED by all parties, through their respective counsel, and pursuant to LR

                    2 IA 6-1 and LR 7-1, that the briefing relating to Plaintiff’s Motion for Partial Summary Judgment

                    3 (ECF No. 92, the “Motion”), filed on November 8, 2021, proceed on the following schedule:

                    4            1.        The current deadline for Defendants to respond to the Motion is November 29, 2021,

                    5 which is the Monday following Thanksgiving. The parties agree to extend this deadline by two

                    6 weeks to accommodate family obligations of the parties, counsel and witnesses over the holidays.

                    7 Additionally, undersigned defense counsel is dealing with an unexpected family health issue, which

                    8 requires out-of-town travel this week, and possibly additional time in December as well.

                    9            2.        The parties also anticipate that Defendants will be filing a counter-motion for
                   10 summary judgment relating to the subject matter of Plaintiff’s Motion (i.e., the Attorney

                   11 Agreement). The parties similarly agree to extend Plaintiff’s response deadline to accommodate

                   12 family obligations of the parties, counsel and witnesses over the holidays.

                   13            3.        Accordingly, the parties’ agree on the following briefing schedule for the Motion and
                   14 anticipated counter-motion:

                   15                         December 13, 2021 – deadline for Defendants’ response to Motion and

                   16                         the filing of Defendants’ counter-motion

                   17                         January 10, 2022 – deadline for Plaintiff’s reply in support of Motion

                   18                         January 17, 2022 – deadline for Plaintiff’s response to Defendants’ counter-

                   19                         motion

                   20                         February 14, 2022 – deadline for Defendants’ reply in support of counter-motion

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                   22            4.        This stipulation is made in good faith and for good cause, and not for any purpose to

                   23 delay.

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& SMITH LLP
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                    1            5.        The parties further agree that this stipulated extension of time does not operate as

                    2 any admission or waiver of any claim, defense or issue.

                    3

                    4    DATED this 24th day of November, 2021                  DATED this 24th day of November, 2021

                    5    LEWIS BRISBOIS BISGAARD &                              RELIEF LAWYERS, LLC
                         SMITH LLP
                    6
                          /s/ Jeffrey D. Olster __________                      _/s/ Dale K. Kleven______________
                    7    Jeffrey D. Olster                                      Dale K. Kleven
                         Nevada Bar No. 8864                                    Nevada Bar No. 7778
                    8    Adam J. Pernsteiner                                    Thomas M. Fronczek
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                         Las Vegas, Nevada 89118                                Las Vegas, Nevada 89149
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                         PATENAUDE & FELIX APC, RAYMOND A.                      TROY CAPITAL, LLC and Third-Party
                   11    PATENAUDE, MICHAEL D. KAHN and                         Defendants RANCE WILLEY and TROY
                         ANGIE HONG HOAR                                        DUPUIS
                   12

                   13

                   14    DATED this 24th day of November, 2021                  DATED this 24th day of November, 2021
                   15    SANTORO WHITMIRE                                       SIMMONDS & NARITA LLP
                   16
                          /s/ Jason D. Smith        _                           _/s/ Tomio B. Narita ___________
                   17
                         Nicholas J. Santoro                                    Tomio B. Narita
                   18    Nevada Bar No. 0532                                    Jeffrey A. Topor
                         Jason D. Smith                                         (Admitted pro hac vice)
                   19    Nevada Bar No. 9691                                    44 Montgomery Street, Suite 3010
                         10100 W. Charleston Boulevard, Suite 250               San Francisco, California 94104
                   20    Las Vegas, Nevada 89135                                Attorneys for Plaintiff/Counterdefendant
                         Attorneys for                                          TROY CAPITAL, LLC and Third-Party
                   21    Counterclaimant/Third-Party Plaintiff                  Defendants RANCE WILLEY and TROY
                         PATENAUDE & FELIX APC                                  DUPUIS
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LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW
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                                                                      11/24/21 Page 4 of 5




                    1    DATED this 24th day of November, 2021.

                    2    PATENAUDE & FELIX, APC

                    3
                         /s/ Joseph DiNoia_________
                    4    Joseph DiNoia
                         Nevada Bar No. 11951
                    5    7271 West Charleston Boulevard, Suite 100
                         Las Vegas, Nevada 89117
                    6    Attorneys for
                    7    Counterclaimant/Third-Party Plaintiff
                         PATENAUDE & FELIX, A.P.C.
                    8

                    9
                                                                     ORDER
                   10

                   11                              IT IS SO ORDERED:

                   12                                             _______________________________________
                                                                  UNITED STATES DISTRICT JUDGE
                   13
                                                                          November 29, 2021
                                                                  DATED: _______________________________
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BISGAARD
& SMITH LLP
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                    1                                  CERTIFICATE OF SERVICE

                    2            I HEREBY CERTIFY that on the 24th day of November, 2021, service of the foregoing

                    3 STIPULATION TO ESTABLISH BRIEFING SCHEDULING FOR MOTIONS FOR

                    4 PARTIAL SUMMARY JUDGMENT (First Request) was made upon each party in the case

                    5 who is registered as an electronic case filing user with the Clerk, pursuant to Fed. Rule Civ. P.

                    6 5(b)(3), and Local Rule 5-4, as follows:

                    7

                    8                       Attorney                              Party                 Phone/Fax
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                    9     Thomas M. Fronczek
                   10     RELIEF LAWYERS LLC                                                      P: (702) 589-7520
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                   12            fronczeklaw@gmail.com

                   13     Tomio B. Narita (Admitted pro hac vice)
                          Jeffrey A. Topor (Admitted pro hac vice)    Attorneys for
                   14     SIMMONDS & NARITA LLP                       Plaintiff/Counterdefendant
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                   15     San Francisco, California 94104             Party Defendants Rance
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                   16             jtopor@snllp.com
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                   21
                          Nicholas J. Santoro
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                          SANTORO WHITMIRE                            Attorneys for
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                   25

                   26                                            By /s/ Susan Awe
                                                                    An Employee of
                   27
                                                                    LEWIS BRISBOIS BISGAARD & SMITH LLP
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& SMITH LLP
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                        4890-8385-2036.1                              5
